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                   United States Bankruptcy Court, Northern District of Illinois

Name of Assigned Judge         A. Benjamin Goldgar         CASE NO.                 15 B 1145
DATE                               February 13, 2018       ADVERSARY NO.
CASE TITLE                                     Caesars Entertainment Operating Co., Inc.

TITLE OF ORDER                 Order denying motion in limine of Earl of Sandwich (Atlantic City), LLC
                               without prejudice


  DOCKET ENTRY TEXT
The motion in limine of Earl of Sandwich (Atlantic City), LLC to exclude the expert report of Peter
M. Lupoff is denied without prejudice as premature.

[For further details see text below.]




                                               STATEMENT

           Currently pending in the Caesars bankruptcies is a dispute between Whitebox Advisors,
   LLC (“Whitebox”) and Earl of Sandwich (Atlantic City), LLC (“Earl”) arising out of a
   purported claim transfer. Whitebox contends the claim was transferred; Earl says it was not.
   The parties are engaged in discovery, some of it apparently involving experts. Earl has now
   filed a motion in limine to exclude the expert report of one Peter M. Lupoff.

           The motion will be denied as premature. Motions in limine are designed to avoid the
   prejudicial effect of evidence by addressing its admissibility in advance. 1 Charles Alan Wright
   & Kenneth W. Graham, Jr. Federal Practice & Procedure ¶ 5037.10 at 757 (2d ed. 2005); see
   also Empire Bucket, Inc. v. Contractors Cargo Co., 739 F.3d 1068, 1071 n.3 (7th Cir. 2014).
   The proper time for making a motion in limine is evident from the name itself. Loosely
   translated from Latin,“in limine” means “at the threshold,” Wright & Graham, supra, ¶ 5037.10
   at 757 – that is, at the threshold of trial. Motions in limine are typically made right before trial.
   See United States v. Crawford, 66 F. Supp. 3d 1311, 1320 (D. Or. 2014); Automobile Ins. Co. of
   Hartford v. Electrolux Home Prods., Inc., 08-CV-623(A)(M), 2010 WL 3655743, at *4
   (W.D.N.Y. Sept. 15, 2010); Eichler v. Sherbin, No. CIV S-04-1108 GEB JFM, 2006 WL
   2781746, at *5 (E.D. Cal. Sept. 25, 2006). They are also typically addressed right before trial.
   Crawford, 66 F. Supp. 3d at 1320.

          Here, no trial has been scheduled. (Indeed, there may never be one. Not every
   contested
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matter requires a trial; the matter may be resolved on summary judgment. See Fed. R. Bankr. P.
9014(c) (making Rule 7056 applicable to contested matters)). Because no trial has been
scheduled, neither side has submitted a list of the exhibits that may be offered at trial. Therefore,
Whitebox has not proposed to offer into evidence the Lupoff report that has drawn Earl’s
attention. With the report not even a potential exhibit at the yet-to-be-scheduled trial, the time
for Earl to seek to exclude the report as evidence has not yet arrived. Considering the request at
this juncture would be a waste of the court’s and the parties’ resources.1/ See Green v. Kubota
Tractor Corp., No. 09 C 7290, 2012 WL 1416465, at *2 (N.D. Ill. Apr. 24, 2012) (noting that the
court had stricken the parties’ motions in limine as premature where no trial date had been set);
Eichler, 2006 WL 2781746, at *5 (denying motion in limine as premature).

         Even if a trial in this matter had been set and the report listed as a possible exhibit,
consideration of Earl’s motion would likely have been deferred until trial. See Jonasson v.
Lutheran Child & Family Servs., 115 F.3d 436, 440 (7th Cir. 1997) (noting that trial courts have
discretion to defer ruling on motions in limine). Any trial will be a bench trial; no jury will hear
the evidence. Motions in limine are less important in bench trials where concerns about undue
prejudice “are minimal.” United States v. Brown, No. 15 C 3283, 2017 WL 219521, at *1 (N.D.
Ill. Jan. 19, 2017). Particularly where experts are concerned, the court in a bench trial has the
flexibility to admit the evidence provisionally “and then discount or disregard it if upon further
reflection it is entitled to little weight or should not have been admitted at all.” Bone Care Int’l,
LLC v. Pentech Pharm., No. 08 C 1083, 2010 WL 3894444, at *1 (N.D. Ill. Sept. 30, 2010), op.
clarified on other grounds, 2010 WL 3909509 (Oct. 4, 2010); see also Brown, 2017 WL 219521,
at *1.

       Because Earl’s motion in limine is premature, the motion is denied without prejudice.
Earl may move in limine to exclude the Lupoff report once a trial date has been set – and then at
the proper time under the final pretrial order.2/


       1/
                A trial will be scheduled only once discovery is closed and it is apparent neither
side intends to file a potentially dispositive motion. A final pretrial order in the form the
undersigned judge customarily uses will then be entered. (For a recent example, see BMO
Harris Bank, N.A. v. Brahos, No. 16 A 358, Dkt. No. 66). The order will set dates for the parties
to submit pretrial materials. Those materials will include lists of witnesses and exhibits. The
order will also set a deadline for filing motions in limine and a briefing schedule for any motions
filed. At that point, not before, a motion like the one here will be entertained.
       2/
               Should Earl decide to do so, it may be worth noting that the legal arguments Earl
advances for the report’s exclusion are probably more involved than necessary. Except in the
unlikely event an exception to the rule applies, expert reports are hearsay and therefore
inadmissible. Hackel v. National Feeds, Inc., No. 12-cv-642-wmc, 2014 WL 37293, at *2 (W.D.
Wis. Jan. 3, 2014) (declaring that “all expert reports . . . are hearsay”); King v. Kramer, No. 10-
cv-123-wmc, 2012 WL 6150244, at *1 (W.D. Wis. Dec. 11, 2012) (“Expert reports are classic
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hearsay and will not be admitted into evidence . . . .”); Henriksen v. United States, No. 09 C
2398, 2011 WL 13239142, at *1 (N.D. Ill. Apr. 29, 2011); Thakore v. Universal Mach. Co. of
Pottstown, Inc., 670 F. Supp. 2d 705, 724-25 (N.D. Ill. 2009); Sommerfield v. City of Chi., 254
F.R.D. 317, 328-29 (N.D. Ill. 2008) (calling expert report “hearsay in its most pristine form”).

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